Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 1 of 32 PageID: 1



QUINN EMANUEL URQUHART & SULLIVAN, LLP
  Thomas D. Pease (NJ Bar No. 055421994)
  Peter Calamari (pro hac vice application forthcoming)
     51 Madison Avenue, 22nd Floor
     New York, NY 10010
     (212) 849-7000 (Phone)
  Ethan C. Glass (pro hac vice application forthcoming)
  Michael D. Bonanno (pro hac vice application forthcoming)
     1300 I Street NW, Washington, DC 20005
     (202) 538-8000 (Phone)

Attorneys for Plaintiff RareGen, LLC

ALSTON & BIRD LLP
  Jenny Kramer (NJ Bar No. 014372001)
     90 Park Avenue 15th Floor
     New York, NY 10016
     (212) 210-9400 (Phone)
  Michael P. Kenny (pro hac vice application forthcoming)
  Matthew D. Kent (pro hac vice application forthcoming)
  Allison S. Thompson (pro hac vice application forthcoming)
     1201 West Peachtree Street, Suite 4900
     Atlanta, GA 30309
     (404) 881-7000 (Phone)

Attorneys for Plaintiff Sandoz Inc.

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

Sandoz Inc. and RareGen, LLC
                                         Case No. _______
             Plaintiffs,

       v.                                COMPLAINT

United Therapeutics Corporation and      JURY TRIAL DEMANDED
Smiths Medical ASD, Inc.

             Defendants.
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 2 of 32 PageID: 2



                                  INTRODUCTION

      1.     Defendants United Therapeutics Corporation (“United Therapeutics”)

and Smiths Medical ASD, Inc. (“Smiths”), in violation of the Sherman Act, are

unlawfully impeding competition from a new generic drug that treats pulmonary

arterial hypertension (“PAH”).

      2.     PAH is a life-threatening disease that causes high blood pressure in the

arteries that run from the heart to the lungs. Many PAH patients need medical

devices that are manufactured by Smiths (single-use cartridges that are specifically

designed for the infusion pumps manufactured by Smiths) to receive subcutaneous

injections of a life-saving drug called treprostinil.

      3.     Plaintiffs Sandoz Inc. (“Sandoz”) and RareGen, LLC (“RareGen”)

recently introduced the first generic form of treprostinil that can be administered

through subcutaneous injections.

      4.     In an effort to thwart the launch of that product and to maintain higher

prices, Defendants placed artificial restrictions on Smiths’ cartridges to ensure they

can only be used to administer injections of the brand-name treprostinil drug

supplied by United Therapeutics, which is called Remodulin ®. Defendants have

instructed the pharmacies dispensing treprostinil that they are prohibited from

purchasing or dispensing Smiths’ cartridges for use with generic treprostinil. And

Smiths has committed to sell its entire supply of cartridges to United Therapeutics


                                            1
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 3 of 32 PageID: 3



(or other purchasers that are specifically approved by United Therapeutics).

      5.     Defendants’ anticompetitive conduct has allowed them to control

access to treprostinil for subcutaneous injections and enabled them to maintain

higher prices for that critical treatment.

      6.     The anticompetitive restrictions imposed by Defendants have no public

benefit or medical justification—they merely protect United Therapeutics’ bottom

line. During the last three calendar years, Remodulin ® generated $599.0 million,

$670.9 million, and $602.3 million in net product sales for United Therapeutics,

which represented more than 35% of the company’s total revenues in each of those

years. Absent Defendants’ anticompetitive conduct, that entire franchise would now

be under attack by Plaintiffs’ generic alternative, which is substantially cheaper than

Remodulin®.

      7.     Sandoz and RareGen bring this action under federal and state law to:

(1) enjoin Defendants from denying PAH patients access to the cartridges they need

to receive subcutaneous injections of generic treprostinil; and (2) obtain relief for

the injuries they have suffered as a result of Defendants’ anticompetitive conduct.

                                   THE PARTIES

      8.     Plaintiff Sandoz sells generic and biosimilar medicines. Sandoz is

committed to playing a leading role in providing patients with access to affordable

medications. Sandoz is incorporated under Colorado law and maintains its principal


                                             2
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 4 of 32 PageID: 4



place of business at 100 College Road West, Princeton, New Jersey.

      9.     Plaintiff   RareGen     provides   strategic,   commercialization,     and

promotional support for rare disease treatments. RareGen has partnered with Sandoz

to launch the first generic version of treprostinil injections for the treatment of PAH.

RareGen is a limited liability company that is organized under Delaware law. All of

its members are residents in Virginia and North Carolina, and it maintains its

principal place of business at 200 Garrett Street, Suite R, Charlottesville, Virginia.

      10.    Defendant United Therapeutics is a biotechnology company that

markets and sells four commercial therapies in the United States to treat PAH:

Remodulin® (treprostinil injection); Tyvaso® (treprostinil inhalation solution);

Orenitram® (treprostinil extended-release tablets); and Adcirca® (tadalafil tablets).

United Therapeutics is incorporated under Delaware law, and its principal executive

offices are located at 1040 Spring Street, Silver Spring, Maryland.

      11.    Defendant Smiths is a leading global manufacturer of specialty medical

devices. Smiths is incorporated under Delaware law, and its worldwide headquarters

are located at 6000 Nathan Lane North, Minneapolis, Minnesota.

                          JURISDICTION AND VENUE

      12.    This Court has original jurisdiction over Plaintiffs’ federal antitrust

claims pursuant to 28 U.S.C. § 1331. Plaintiffs bring those claims under Sections 4

and 16 of the Clayton Act (15 U.S.C. §§ 15 and 26), to obtain redress for the harm


                                           3
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 5 of 32 PageID: 5



caused by Defendants’ violations of Sections 1 and 2 of the Sherman Act (15 U.S.C.

§§ 1, 2).

      13.    This Court also has original jurisdiction over Plaintiffs’ federal antitrust

claims under 28 U.S.C. § 1337.

      14.    This Court has original jurisdiction over Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1332. The matter in controversy exceeds $75,000, exclusive

of interest and costs, and there is complete diversity of citizenship between Plaintiffs

and Defendants.

      15.    This Court also has supplemental jurisdiction over Plaintiffs’ state law

claims pursuant to 28 U.S.C. § 1367(a). This Court has original jurisdiction over

Plaintiffs’ federal antitrust claims, and Plaintiffs’ state law claims arise from the

same case or controversy underlying Plaintiffs’ federal antitrust claims.

      16.    Venue is proper in this District pursuant to 15 U.S.C. § 22 because both

Defendants conduct business within this District. Venue also is proper in this

District under 28 U.S.C. § 1391 because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred within this judicial district.

BEFORE GENERIC COMPETITION THERE WERE NO RESTRICTIONS
           ON THE SALE OR USE OF CARTRIDGES
      17.    The most common symptoms of PAH are shortness of breath, chest

pain, exhaustion, dizziness or fainting, and heart palpitations. The New York Heart

Association has created four functional classes for evaluating heart failure, and those


                                            4
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 6 of 32 PageID: 6



classes are often used to classify the severity of a PAH patient’s symptoms. Class I

patients have no observable symptoms. Class II patients experience symptoms when

active. Class III patients experience symptoms at rest. And Class IV patients are

severely affected by PAH at all times.

      18.    Doctors typically prescribe treprostinil injections for Class III and Class

IV patients with acute PAH symptoms. According to United Therapeutics’ CEO,

for those patients it is “necessary to keep a continuous level of our key molecule,

treprostinil, flushing through their pulmonary arteries 24/7.           And the only

demonstrated way to achieve this continuously with an absolutely constant level of

treprostinil levels is through a parenteral delivery system.”

      19.    Remodulin® is a parenterally administered (injected) form of

treprostinil. It is administered in one of two ways: (1) under a patient’s skin

(subcutaneous injection); or (2) directly into a patient’s veins (intravenous injection).

United Therapeutics estimates that more than half of the patients being treated for

PAH with Remodulin® are receiving Remodulin® through subcutaneous injections,

and subcutaneous injection is the preferred method of administration for new

patients. The remaining patients receive intravenous Remodulin® injections.

      20.    Currently, PAH patients who are prescribed subcutaneous treprostinil

injections receive their Remodulin® injections only through the CADD-MS 3 pump,

which is manufactured exclusively by Defendant Smiths. The CADD-MS 3 pump


                                           5
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 7 of 32 PageID: 7



is approximately the size of a cell phone. It maintains a steady flow of medication

into the patient’s body and remains constantly in use, 24 hours a day, seven days a

week. Out of medical necessity, every few days a patient must replace his or her

CADD-MS 3 pump’s cartridge, which contains the patient’s prescribed treprostinil

dosage.




                           CADD-MS 3 Pump and Cartridge

      21.    There are no other medical devices that are currently being used to

administer subcutaneous treprostinil injections in the United States.

      22.    PAH patient options are further limited because treprostinil requires a

physician’s prescription, and those prescriptions can only be filled by one of two

specialty pharmacies: Accredo Health Group, Inc. (“Accredo”) and CVS Specialty

Pharmacy (“CVS Specialty”). Accredo and CVS Specialty provide PAH patients

with the specialized equipment, training, and support services they need to receive

parenterally administered PAH treatments.

                                          6
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 8 of 32 PageID: 8



      23.    The U.S. Food and Drug Administration (“FDA”) first approved

Remodulin® for subcutaneous injections in the United States in 2002.

      24.    Prior to the launch of Plaintiffs’ generic version of injected treprostinil

on March 25, 2019, there was no generic alternative to Remodulin® in the market.

      25.    On information and belief, at no time prior to December 2018 did

Defendants ever restrict the sale or use of cartridges by mandating that they could

only be used to administer Remodulin® treatments.

            STATUTORY AND REGULATORY BACKGROUND

      26.    Before marketing a new drug in the United States, a manufacturer must

obtain FDA approval for its new drug application (“NDA”). Once approved, new

drugs generally are called “brand-name” drugs because they are marketed under a

trade name or trademark for the drug rather than the chemical name of the drug’s

active ingredient.

      27.    Among other things, an NDA must contain technical data on the

composition of the drug, including its active ingredient, the means for its

manufacture, and a statement of its proposed uses. The FDA approves a new drug

only if it determines, based on evidence submitted by the manufacturer, that the drug

is safe and effective for its proposed use(s).

      28.    Congress enacted the Drug Price Competition & Patent Term

Restoration Act, which is commonly known as the Hatch-Waxman Act, to increase


                                           7
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 9 of 32 PageID: 9



the availability of low-cost generic drugs by expediting the FDA approval process

for generic drugs.    To preserve incentives for manufacturers to invest in the

development of new drugs, the Hatch-Waxman Act also provides that brand-name

manufacturers may be entitled to exclusivity for new drugs for a prescribed period

of time and they are given the ability to apply, under certain circumstances, to extend

the patent protection for their drugs by up to an additional five years.

      29.    A generic drug contains the same active ingredient as the brand-name

drug but typically sells at a lower price than the brand-name drug. As a result,

generic drugs are frequently prescribed as a substitute for brand-name drugs in an

effort to control healthcare costs, and they represent an increasing portion of the

medicines used in the United States. The Generic Pharmaceutical Association (now

known as the Association for Accessible Medicines) estimates that from 2001

through 2010, the nation’s healthcare system saved $931 billion from the use of

generic drugs. Achieving cost savings through generic substitution is critical for

expensive, life-saving treatments like Remodulin®.

      30.    The introduction of a generic drug as an alternative to a brand-name

drug typically results in a dramatic reduction in the brand-name drug’s market share,

and the rate of reduction is particularly dramatic in the first six months.

      31.    Before marketing a generic drug in the United States, a manufacturer

must obtain FDA approval for an Abbreviated New Drug Application (“ANDA”).


                                           8
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 10 of 32 PageID: 10



To obtain FDA approval, an ANDA applicant must show that its generic drug is as

safe and effective as the approved brand-name drug.

      32.     Under the Hatch-Waxman Act, manufacturers of brand-name drugs are

required to identify the list of patents that correspond to each approved brand-name

drug, and that list of patents is published by the FDA in what is commonly known

as the “Orange Book.”

      33.     As an incentive for generic drug manufacturers to challenge invalid or

unenforceable patents corresponding to brand-name drugs, the Hatch-Waxman Act

awards 180 days of marketing exclusivity to the generic applicant that is first to file

an ANDA (or amended ANDA) with the proper certification. The applicant that

receives this marketing exclusivity is known as the “first filer.”

                    UNITED THERAPEUTICS’ PLAN TO
                   “MAKE GENERIC BARBARIC” FAILED

      34.     In 2011, Sandoz submitted an ANDA to the FDA, requesting

permission to market a generic version of treprostinil for use in both subcutaneous

and intravenous injections. Sandoz was the “first filer” for generic treprostinil

injections.

      35.     In its ANDA, Sandoz certified that United Therapeutics’ patents related

to Remodulin® were invalid or would not otherwise be infringed by its generic

version of treprostinil.




                                           9
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 11 of 32 PageID: 11



      36.    United Therapeutics immediately sued Sandoz in this Court, claiming

its patents were infringed by the generic treprostinil formulation developed by

Sandoz.

      37.    The parties settled that suit in September 2015. Under the terms of the

settlement, Sandoz was permitted to start marketing its generic treprostinil

alternative in June 2018.

      38.    The FDA approved the Sandoz ANDA for generic treprostinil in

November 2017, for both subcutaneous and intravenous injections.

      39.    Following United Therapeutics’ patent settlement with Sandoz in 2015,

Sandoz posed a competitive threat to Remodulin ®. United Therapeutics began

telling its investors that it expected “a risk of generic Remodulin erosion in the

second half of 2018,” but reassured investors that it had plans to take “a couple of

steps to ameliorate that.” Specifically, it planned to “make generic barbaric” by

developing new, proprietary methods of administering Remodulin® injections and

pushing patients and specialty pharmacies to adopt them. According to United

Therapeutics’ CEO, “that little mantra reminds us that our job is to advance the state

of patient care so rapidly that generic technologies and generic drugs delivered to

old devices will seem barbaric.”

      40.    As part of this strategy, United Therapeutics partnered with Medtronic

plc to develop an implantable pump, which it has dubbed the “RemoSynch” pump


                                         10
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 12 of 32 PageID: 12



or Implantable System for Remodulin®, to serve as an alternative to intravenous

injections. Unlike the external pumps traditionally used for intravenous treatments,

the Medtronic pump would be surgically implanted into the patient’s body.

According to United Therapeutics’ CEO, that pump would “greatly diminish the

opportunity for generic penetration” because patients would prefer an implantable

pump, which only needed to be refreshed every few months, to an external pump

that needed to be refreshed every few days. And United Therapeutics obtained a

commitment from Medtronic that the new pump would only be offered “with

branded treprostinil, in other words Remodulin included in it.”

      41.    United Therapeutics initially planned for the new, implantable pump to

be launched in 2017, well before Sandoz could sell its generic treprostinil injections

under the terms of the patent settlement. On April 3, 2017, however, United

Therapeutics announced that it would not obtain FDA approval in time to launch its

pump in 2017. Without a new pump on the market before Sandoz could begin selling

its generic alternative to Remodulin®, United Therapeutics faced the prospect of

head-to-head competition with a cheaper, generic alternative for patients receiving

intravenous injections. The RemoSynch pump was finally approved by the FDA in

July 2018 (four years after the parties submitted their application), but it cannot be

used with Remodulin® until Medtronic satisfies certain conditions established by the

FDA, which have not yet been satisfied.


                                          11
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 13 of 32 PageID: 13



      42.   For the subcutaneous segment of the market, United Therapeutics

implemented the same strategy by partnering with DEKA Research and

Development Corporation (“DEKA”) to develop a disposable Remodulin ® pump,

which it called the RemUnity pump.           United Therapeutics intended for the

RemUnity pump to replace the CADD-MS 3 pump that patients use for

subcutaneous treatments. Yet again, United Therapeutics planned to rely on an

exclusivity strategy to gain a leg up on generic competition with this new pump. As

United Therapeutics’ CEO explained, “[p]er [United Therapeutics’] agreement with

DEKA, only branded Remodulin can be used in this pump.”

      43.   DEKA and United Therapeutics filed for FDA approval of the

RemUnity pump in February 2018. The RemUnity pump, however, still has not

been approved by the FDA.

      44.   United Therapeutics has also announced a number of other projects for

the development of pumps for subcutaneous administration of treprostinil that are in

earlier stages of development, including the RemoLife infusion system that is being

developed by Smiths and the Trevyent pump system that was acquired by United

Therapeutics when it purchased SteadyMed Ltd. in August 2018. On information

and belief, these new pumps will be subject to the same restrictions as the other

pumps under development, i.e., they will only be used with Remodulin®.




                                        12
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 14 of 32 PageID: 14



            DEFENDANTS PROHIBIT PATIENTS FROM GAINING
                 ACCESS TO GENERIC TREPROSTINIL
      45.    In August 2018, Sandoz and RareGen agreed to jointly market and sell

generic treprostinil for subcutaneous and intravenous injections.          Under that

agreement, RareGen has the exclusive right to encourage the appropriate use of

generic treprostinil injections, including by using Sandoz trademarks and copyrights.

RareGen is responsible for establishing sales representatives and educating and

supporting physicians, nurse practitioners, physician assistants, and other medical

professionals with prescribing authority with respect to the benefits of generic

treprostinil injections. Sandoz is responsible for maintaining a sufficient supply of

generic treprostinil.

      46.    By late 2018, Sandoz and RareGen were preparing to commercially

launch generic treprostinil for both subcutaneous and intravenous treatments. But

with its new pumps awaiting FDA approval, United Therapeutics still had not come

up with a way to effectively stifle competition with Plaintiffs’ generic alternative in

the subcutaneous segment of the market. So it turned its attention to the existing

cartridges used to administer subcutaneous treprostinil injections and sought to

control those devices to avoid having to compete at all. In conjunction with Smiths,

United Therapeutics completely blocked potential generic competitors from

delivering treprostinil to patients receiving subcutaneous injections.

      47.    In December 2018, Smiths began telling specialty pharmacies that it


                                          13
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 15 of 32 PageID: 15



would not sell CADD-MS 3 cartridges for use with generic treprostinil injections.

Smiths told Accredo and CVS Specialty that any additional cartridges they obtained

could only be used with Remodulin®, and, on information and belief, Smiths also

threatened to stop selling cartridges to Accredo and CVS Specialty if they dispensed

cartridges to administer generic treprostinil injections.

      48.    Later, when Sandoz and RareGen sought to order CADD-MS 3

cartridges from Smiths’ distributors, Defendants blocked those orders as well, and

told the distributors that they could only sell the cartridges to Accredo and CVS

Specialty for use with Remodulin®.

      49.    In furtherance of Defendants’ anticompetitive scheme, sometime after

Sandoz’ ANDA became public, but before Sandoz and RareGen were ready to start

selling generic treprostinil, Smiths sold all of its remaining cartridges and the resin

necessary to manufacture the cartridges to United Therapeutics under a secret

agreement.

      50.    Defendants have cornered the market. They have enough cartridges

and resin to supply the entire market—for subcutaneous injections of Remodulin®

and for generic treprostinil. That entire supply, however, is now dedicated to

Remodulin®. The impact of Defendants’ arrangement is clear: it blocks generic

entry and maintains high prices for Remodulin®. Specialty pharmacies already own

sufficient pumps to administer generic treprostinil treatments, but because of


                                          14
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 16 of 32 PageID: 16



Defendants’ restrictions they—and more importantly, patients—cannot obtain

cartridges to use with generic treprostinil. As a result, United Therapeutics has

maintained its monopoly over a large segment of the market that it does not deserve

and has not earned.

       51.    The existence of this secret arrangement between United Therapeutics

and Smiths was recently confirmed in United Therapeutics’ 10-K filing for its 2018

fiscal year, where United Therapeutics stated:

       Smiths Medical manufactures the pumps used by most patients in the United
       States to administer Remodulin, including the Smiths CADD® MS-3 pump
       used to deliver subcutaneous Remodulin. In 2015, Smiths Medical notified
       us that it was planning to discontinue the manufacture of the CADD MS-3
       pumps and associated cartridges. We entered into an agreement with Smiths
       Medical to fund the manufacture of a further supply of CADD MS-3 pumps
       and cartridges for use with branded Remodulin only. We anticipate this
       supply will be sufficient to ensure continued support of subcutaneous
       Remodulin for several years, and are working with Smiths Medical to develop
       a next-generation infusion system called RemoLife prior to the exhaustion of
       the available CADD MS-3 supply.

       52.    As a result of Defendants’ anticompetitive conduct, Sandoz and

RareGen are unable to sell their cheaper, generic alternative to Remodulin ® for use

in subcutaneous treatments.        For patients receiving subcutaneous injections,

Remodulin® is their only option.

                         RELEVANT PRODUCT MARKETS

       53.    Three classes of drugs have been approved by the FDA to treat PAH.

They    are    called:    (1)   Endothelin     Receptor   Antagonists    (“ERAs”);



                                          15
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 17 of 32 PageID: 17



(2) Phospodiesterase Type 5 inhibitors (“PDE-5s”), and (3) Prostacyclins.

      54.    The active ingredient in Remodulin® is treprostinil, which is a synthetic

form of prostacyclin.

      55.    The treatment program used by a PAH patient (i.e., the drug and

delivery mechanism) is based on the severity of the patient’s symptoms and the

treating physician’s judgment. The selection of one drug class over another, or of a

particular administration method, is not based on the underlying price of the

treatments. Thus, a small, but significant, and non-transitory increase in the price of

one class of drugs would not cause treating physicians and patients to substitute in

significant numbers to a different class of drugs; and a small, but significant, and

non-transitory increase in the price of one administration method would not cause

treating physicians and patients to substitute in significant numbers to a different

administration method.

      56.    ERA and PDE-5 treatments are not reasonable substitutes for

prostacyclin treatments because they are indicated for less severe forms of PAH. As

a patient’s symptoms become worse, they will typically progress to prostacyclin

treatments. As United Therapeutics’ CEO has explained:

      There are the PDE-5 inhibitors of which the two brand names that are most
      well-known, Viagra and Cialis, are of that category. And those drugs have
      been rebranded to be used in pulmonary hypertension. You have to take them
      every day for the rest of your life.




                                          16
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 18 of 32 PageID: 18



      And they are able to effectuate some dilation in those distal pulmonary arteries
      and help patients for a while. But almost every patient disease ends up
      progressing through the benefits given by the PDE-5 inhibitors.

      So, I will also mention that PD[E]-5 inhibitors are the least expensive drugs
      for treating this disease and are generally the first line therapy provided to the
      patient. Once their disease progresses through these PDE-5 inhibitors, the
      patient[s] next have a line of drugs called endothelium receptor antagonists,
      or ERAs for short. . . .

      They help the group one pulmonary arterial hypertension patient for a while.
      But as with the PDE-5s, the patient disease progresses through the benefits of
      the ERAs. And on average the patients will stay on an ERA for something
      like one to two years before their disease has progressed and they need yet a
      stronger medicine.

      And then at the end of the – at the end of this progression is a third class of
      medicines of what are called the prostacyclin class. . . .

      57.    Within the class of prostacyclin-based PAH treatments, there are at

least two relevant antitrust product markets that are affected by Defendants’

unlawful conduct: (1) the market for subcutaneously injected treprostinil; and (2) the

market for injected prostacyclins.

      Subcutaneously Injected Treprostinil

      58.    Prostacyclin-based therapies administered by injection are highly

differentiated. At one end of the spectrum are treatments based on epoprostenol

(which include the brand-name drugs Flolan® and Veletri®) and at the other end of

the spectrum are treatments based on treprostinil (such as Remodulin®). There are

significant differences between the two sets of medications that make one of them,




                                          17
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 19 of 32 PageID: 19



or the other, the best alternative for a particular patient that needs to receive

prostacyclin injections.

      59.    As United Therapeutics explained in its latest 10-K filing with the SEC:

      Remodulin is stable at room temperature, so it does not need to be cooled
      during infusion and patients do not need to use cooling packs or refrigeration
      to keep it stable. Treprostinil is highly soluble and highly potent, which
      enables us to manufacture Remodulin in concentrated solutions. This allows
      therapeutic concentrations of Remodulin to be delivered at very low flow rates
      via miniaturized infusion pumps for both subcutaneous and intravenous
      infusion. Remodulin can be continuously infused for up to 48 hours
      intravenously or 72 hours subcutaneously before refilling the external infusion
      pump. This profile contrasts favorably with the other continuously infused
      prostacyclin therapies in the market—Flolan®, Veletri® and generic
      epoprostenol.

      Flolan and generic epoprostenol are not stable at room temperature (and
      therefore require refrigeration or the use of cooling packs), but Veletri may be
      stable at room temperature depending on its concentration. Flolan, generic
      epoprostenol, and Veletri have shorter half-lives than Remodulin, requiring
      mixing prior to pump refills. None of these competitive products may be
      administered via subcutaneous infusion, and therefore may only be delivered
      intravenously.

      60.    Because of the substantial differences between injected treprostinil

treatments and those based on epoprostenol, treprostinil is the only PAH treatment

that can be administered through subcutaneous injections in the United States today.

      61.    There are approximately 2,000 patients in the United States who are

currently being treated for PAH with subcutaneous Remodulin® injections. Those

patients have been prescribed Remodulin® by their treating physicians and their

treatment program relies on subcutaneous injections using the CADD-MS 3 pump.



                                         18
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 20 of 32 PageID: 20



Those patients will not switch to other PAH treatments in response to a small, but

significant, and non-transitory increase in the price of subcutaneously injected

treprostinil.

       62.      Subcutaneously injected treprostinil therefore constitutes a relevant

antitrust product market.

       Injected Prostacyclins

       63.      Prostacyclin-based treatments for PAH can be administered through

(1) inhaled treatments, such as inhaled treprostinil (including the branded drug

Tyvaso®, which is sold by United Therapeutics); (2) oral treatments, such as

treprostinil in tablet form (including the branded drug Orenitram®, also sold by

United Therapeutics); or (3) injected treatments (such as Remodulin®).

       64.      Inhaled and oral prostacyclin treatments are not reasonable substitutes

for injected prostacyclin treatments.

       65.      As United Therapeutics’ CEO has explained, whether patients “go onto

Orenitram first and then Tyvaso, or Tyvaso first and then Remodulin, or straight to

Remodulin” is “simply a consequence of their doctor’s judgment as to how much

prostacyclin they require and in what form.”

       66.      If a patient is diagnosed with PAH before their symptoms become

severe, they typically will start a treatment program based on oral prostacyclins, and




                                           19
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 21 of 32 PageID: 21



progress over time to other forms of treatment as their symptoms change. Again,

United Therapeutics’ CEO explained:

      [T]here is an entire family of the most potent treatments for pulmonary
      hypertension across the cyclin family that you can start with orally. As the
      patient’s disease progresses, you can move to an inhaled therapy for them,
      which is less invasive . . . than parenteral, but still getting the medicine more
      directly to where it's needed in the distal portions of the pulmonary vascular
      bed via Tyvaso. And then finally, if the patients and disease continues to
      progress, which unfortunately the vast majority [do], the kind of drugs you
      can transition the patient on to parenteral, Remodulin, either subcutaneous or
      intravenous.

      67.    According to United Therapeutics’ CEO, Remodulin® “is the medicine

that physicians reach for when patients are struggling with managing their

pulmonary hypertension due to the oral treatments not being able to halt the

progression of the disease.”

      68.    For all these reasons, patients who have been prescribed injected

prostacyclin treatments will not switch to other prostacyclin treatments in response

to a small, but significant, and non-transitory increase in the price of injected

prostacyclin.

      69.    Injected prostacyclins therefore constitute a relevant antitrust product

market.

                    RELEVANT GEOGRAPHIC MARKET

      70.    The relevant geographic market is no larger than the United States. Due

to FDA regulations and the importance of this life-preserving treatment, a small, but



                                         20
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 22 of 32 PageID: 22



significant, and non-transitory increase in the price of subcutaneously injected

treprostinil or injected prostacyclins would not cause treating physicians and patients

to substitute in significant numbers to other treatments that are not available in the

United States.

                                MARKET SHARES

      71.    Before the entry of generic competition, United Therapeutics sold

100% of the treprostinil administered through subcutaneous injections in the United

States, and as a result of the restrictions related to the CADD-MS 3 cartridges,

United Therapeutics continues to sell 100% of the treprostinil administered through

subcutaneous injections in the United States.

      72.    The market for injected prostacyclins is highly concentrated in the

United States, with United Therapeutics holding a share of the market in excess of

70%. In 2016, for example, United Therapeutics estimated that it “own[ed] about

82% share in the parenteral market.” And as of June 2018, United Therapeutics

boasted “Remodulin is the most prescribed continuous pump therapy for WHO

Group 1 pulmonary arterial hypertension (PAH). Seven out of 10 patients on

continuous therapy are prescribed Remodulin.” “WHO Group 1” refers to PAH

caused by arteries in the lungs becoming narrowed, thickened or stiff, which is the

type of PAH treated by injected prostacyclins like Remodulin®.




                                          21
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 23 of 32 PageID: 23



                            BARRIERS TO ENTRY

      73.   Barriers to entry into the relevant antitrust markets are high. In the

United States, prescription drugs cannot be marketed and sold without FDA

approval.   Patients in the United States cannot be treated with prescription

medications that have not been approved by the FDA. Obtaining FDA approval for

new injected prostacyclin treatments is difficult and expensive. There are currently

only five forms of injected prostacyclins that have been approved by the FDA

(Remodulin®, Flolan®, Veletri®, generic epoprostenol and generic treprostinil).

      74.   Even with FDA approval to start marketing generic treprostinil, no firm

can sell their generic alternative to Remodulin® to treat patients who are being

treated with subcutaneous injections.     Defendants’ unlawful restrictions have

entirely foreclosed that segment of the market.

        ANTICOMPETITIVE EFFECTS AND ANTITRUST INJURY

      75.   There are approximately 2,000 patients in the United States that are

currently being treated for PAH with subcutaneous Remodulin® injections. Those

patients have been prescribed Remodulin® by their treating physicians and their

treatment program relies on subcutaneous injections using the CADD-MS 3 pump.

Today, none of those patients can use generic treprostinil as an alternative to

Remodulin® for subcutaneous injections because of Defendants’ anticompetitive

conduct.


                                        22
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 24 of 32 PageID: 24



      76.    Plaintiffs’ generic treprostinil is being offered at a substantial discount

to Remodulin®. Thus, as a result of Defendants’ anticompetitive conduct, patients

are being deprived of a lower-cost, generic form of treprostinil that can be

administered subcutaneously.

      77.    Defendants have impaired competition from Sandoz and RareGen by

artificially restricting the number of alternatives for subcutaneous treprostinil

injections, which has allowed United Therapeutics to maintain high prices for

Remodulin®. Competition has therefore been harmed and the injuries sustained by

Sandoz and RareGen are of the type the antitrust laws were meant to prevent; they

flow from the harm to competition caused by Defendants’ unlawful conduct.

                               CAUSES OF ACTION

              COUNT 1: RESTRAINT OF TRADE (15 U.S.C. § 1)

      78.    Sandoz and RareGen incorporate by reference the foregoing paragraphs

of this Complaint as if fully set forth herein.

      79.    Defendants entered into contracts, combinations in the form of trust or

otherwise, or conspiracies, in restraint of trade or commerce among the several

States. Those contracts, combinations, or conspiracies are unreasonable restraints

of trade. The relevant contracts, combinations, or conspiracies include at least:

(1) the multi-year exclusive agreement between United Therapeutics and Smiths

whereby Smiths will exclusively service United Therapeutics’ Remodulin®


                                           23
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 25 of 32 PageID: 25



customers; (2) Smiths’ agreement to sell all remaining resin used to make the

CADD-MS 3 cartridges to United Therapeutics in order to prevent competitors from

manufacturing their own cartridges for subcutaneous administration of treprostinil;

and (3) Defendants’ agreements requiring that CADD-MS 3 cartridges only be used

with Remodulin®, thereby prohibiting cartridges from being used to administer

generic treprostinil injections.

      80.    Defendants’ conduct has no legitimate business purpose or

pro-competitive effect.

      81.    Defendants’ conduct has had a substantial effect on interstate

commerce.

      82.    Sandoz and RareGen were injured in their business or property as a

result of Defendants’ anticompetitive conduct and they have suffered and will suffer

injury of the type that the antitrust laws were intended to prevent.

                COUNT 2: MONOPOLIZATION (15 U.S.C. § 2)

      83.    Plaintiffs incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

      84.    Defendants have monopolized or combined or conspired to monopolize

the trade or commerce among the several States. The trade or commerce that

Defendants have monopolized or conspired to monopolize includes the markets for

injected prostacyclins and/or subcutaneously injected treprostinil.    Defendants’


                                          24
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 26 of 32 PageID: 26



conduct has excluded competition from Sandoz and RareGen in those relevant

markets, where they hold market shares in excess of 70%. Defendants’ exclusionary

acts include, inter alia, the following: (1) the multi-year exclusive agreement

between United Therapeutics and Smiths whereby Smiths will exclusively service

United Therapeutics’ Remodulin® customers; (2) Smiths’ agreement to sell all

remaining resin used to make the CADD-MS 3 cartridges to United Therapeutics in

order to prevent competitors from manufacturing their own cartridges for

subcutaneous administration of treprostinil; and (3) Defendants’ agreements

requiring that CADD-MS 3 cartridges only be used with Remodulin®, thereby

prohibiting cartridges from being used to administer generic treprostinil injections.

      85.    Defendants’ conduct has no legitimate business purpose or

pro-competitive effect.

      86.    Defendants’ conduct has had a substantial effect on interstate

commerce.

      87.    Sandoz and RareGen were injured in their business or property as a

result of Defendants’ anticompetitive conduct and they have suffered and will suffer

injury of the type that the antitrust laws were intended to prevent.

        COUNT 3: RESTRAINT OF TRADE (N.J. Stat. Ann. § 56:9-3)

      88.    Sandoz and RareGen incorporate by reference the foregoing paragraphs

of this Complaint as if fully set forth herein.


                                           25
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 27 of 32 PageID: 27



      89.     Defendants entered into contracts, combinations in the form of trust or

otherwise, or conspiracies, in restraint of trade or commerce in New Jersey. Those

contracts, combinations, or conspiracies are unreasonable restraints of trade. The

relevant contracts, combinations, or conspiracies include at least: (1) the multi-year

exclusive agreement between United Therapeutics and Smiths whereby Smiths will

exclusively     service     United      Therapeutics’     Remodulin®      customers;

(2) Smiths’ agreement to sell all remaining resin used to make the CADD-MS 3

cartridges to United Therapeutics in order to prevent competitors from

manufacturing their own cartridges for subcutaneous administration of treprostinil;

and (3) Defendants’ agreements requiring that CADD-MS 3 cartridges only be used

with Remodulin®, thereby prohibiting cartridges from being used to administer

generic treprostinil injections.

      90.     Defendants’ conduct has no legitimate business purpose or

pro-competitive effect.

      91.     Sandoz and RareGen were injured in their business or property as a

result of Defendants’ anticompetitive conduct and they have suffered and will suffer

injury of the type that the antitrust laws were intended to prevent.

         COUNT 4: RESTRAINT OF TRADE (N.C. Gen. Stat. § 75-1)

      92.     Sandoz and RareGen incorporate by reference the foregoing paragraphs

of this Complaint as if fully set forth herein.


                                           26
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 28 of 32 PageID: 28



      93.     Defendants entered into contracts, combinations in the form of trust or

otherwise, or conspiracies, in restraint of trade or commerce in North Carolina.

Those contracts, combinations, or conspiracies are unreasonable restraints of trade.

The relevant contracts, combinations, or conspiracies include at least: (1) the multi-

year exclusive agreement between United Therapeutics and Smiths whereby Smiths

will exclusively service United Therapeutics’ Remodulin® customers; (2) Smiths’

agreement to sell all remaining resin used to make the CADD-MS 3 cartridges to

United Therapeutics in order to prevent competitors from manufacturing their own

cartridges for subcutaneous administration of treprostinil; and (3) Defendants’

agreements requiring that CADD-MS 3 cartridges only be used with Remodulin®,

thereby prohibiting cartridges from being used to administer generic treprostinil

injections.

      94.     Defendants’ conduct has no legitimate business purpose or

pro-competitive effect.

      95.     Sandoz and RareGen were injured in their business or property as a

result of Defendants’ anticompetitive conduct and they have suffered and will suffer

injury of the type that the antitrust laws were intended to prevent.

     COUNT 5: UNFAIR TRADE PRACTICES (N.C. Gen. Stat. § 75-1.1)

      96.     Plaintiffs incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.


                                          27
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 29 of 32 PageID: 29



      97.    By their conduct, Defendants have engaged in an unfair act or practice.

Defendants’ conduct offends established public policy and it is immoral, unethical,

oppressive, unscrupulous, or substantially injurious to consumers.

      98.    Defendants’ conduct was in or had an effect on commerce.

      99.    Sandoz and RareGen were injured in their business or property as a

result of Defendants’ conduct.

     COUNT 6: TORTIOUS INTERFERENCE WITH PROSPECTIVE
                   ECONOMIC ADVANTAGE

      100. Plaintiffs incorporate by reference the foregoing paragraphs of this

Complaint as if fully set forth herein.

      101. Plaintiffs sell and distribute generic injected treprostinil to Accredo and

CVS Specialty. They have been marketing generic injected treprostinil to Accredo

and CVS to be used in both intravenous and subcutaneous PAH treatments.

      102. Defendants have intentionally interfered with those business

relationships by prohibiting Accredo and CVS from administering generic

treprostinil through subcutaneous injections with cartridges manufactured for use in

the CADD-MS 3 pump. There is no excuse or justification for those restrictions.

      103. As a result of Defendants’ intentional interference, Plaintiffs have not

been able to sell generic treprostinil to Accredo and CVS for subcutaneous

treatments. Absent Defendants’ wrongful conduct, there is a reasonable likelihood

that they would have been able to sell generic treprostinil for subcutaneous

                                          28
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 30 of 32 PageID: 30



treatments.    Plaintiffs therefore have been damaged by Defendants’ wrongful

conduct.

                         DEMAND FOR JURY TRIAL

      104. Sandoz and RareGen hereby demand a jury trial on all of their claims.

                            PRAYER FOR RELIEF

      105. Sandoz and RareGen respectfully pray for the following relief:

              a.   a judgment finding that Defendants violated 15 U.S.C. § 1;

              b.   a judgment finding that Defendants violated 15 U.S.C. § 2;

              c.   a judgment finding that Defendants violated N.J. Stat. Ann.
                   § 56:9-3;

              d.   a judgment finding that Defendants violated N.C. Gen. Stat.
                   § 75-1;

              e.   a judgment finding that Defendants violated N.C. Gen. Stat.
                   § 75-1.1;

              f.   a judgment finding that Defendants tortiously interfered with
                   Plaintiffs’ relationships with specialty pharmacies and patients;

              g.   preliminary and permanent injunctive relief;

              h.   compensatory damages, treble damages, costs, and attorneys’
                   fees;

              i.   pre-judgment interest and post-judgment interest to the full
                   extent allowed under the law; and

              j.   any further relief the Court may deem just and proper.




                                        29
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 31 of 32 PageID: 31



              CERTIFICATION PURSUANT TO L. CIV. R. 11.2

      The undersigned hereby certify that the matter in controversy in this suit is

not the subject of any other action pending in any court or of any pending arbitration

or administrative proceeding.



 Dated: April 16, 2019      Respectfully submitted,

                                By: /s/ Thomas D. Pease
                                QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                  Thomas D. Pease (NJ Bar No. 055421994)
                                  Peter Calamari (pro hac vice application
                                  forthcoming)
                                      51 Madison Avenue, 22nd Floor
                                      New York, NY 10010
                                      (212) 849-7000 (Phone)
                                      thomaspease@quinnemanuel.com
                                      petercalamari@quinnemanuel.com
                                  Ethan C. Glass (pro hac vice application
                                  forthcoming)
                                  Michael D. Bonanno (pro hac vice application
                                  forthcoming)
                                      1300 I Street NW, Washington, DC 20005
                                      (202) 538-8000 (Phone)
                                      ethanglass@quinnemanuel.com
                                      mikebonanno@quinnemanuel.com

                                Attorneys for Plaintiff RareGen, LLC

                                By: /s/ Jenny Kramer
                                ALSTON & BIRD LLP
                                  Jenny Kramer (NJ Bar No. 014372001)
                                      90 Park Avenue 15th Floor
                                      New York, NY 10016
                                      (212) 210-9400 (Phone)
                                      Jenny.Kramer@alston.com
Case 3:19-cv-10170-BRM-LHG Document 1 Filed 04/16/19 Page 32 of 32 PageID: 32



                                Michael P. Kenny (pro hac vice application
                                forthcoming)
                                Matthew D. Kent (pro hac vice application
                                forthcoming)
                                Allison S. Thompson (pro hac vice application
                                forthcoming)
                                   1201 West Peachtree Street, Suite 4900
                                   Atlanta, GA 30309
                                   (404) 881-7000 (Phone)
                                   Mike.Kenny@alston.com
                                   Matthew.Kent@alston.com
                                   Allison.Thompson@alston.com

                             Attorneys for Plaintiff Sandoz Inc.
